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           8                                     UNITED STATES DISTRICT COURT
           9                                   EASTERN DISTRICT OF CALIFORNIA
          10                                                              1:09-cv-407 OWW GSA
               THE DELTA SMELT CASES,                                     1:09-cv-422 OWW GSA
          11                                                              1:09-cv-631 OWW GSA
                  SAN LUIS & DELTA-MENDOTA WATER                          1:09-cv-892 OWW GSA
          12      AUTHORITY, et al. v. SALAZAR, et al.                    PARTIALLY CONSOLIDATED
                  (Case No. 1:09-cv-407)                                  WITH: 1:09-cv-480 OWW GSA
          13
                  STATE WATER CONTRACTORS v. SALAZAR,
          14      et al. (Case No. 1:09-cv-422)                           ORDER RE MOTIONS TO
                                                                          ALLOW EXPERT TESTIMONY
          15      COALITION FOR A SUSTAINABLE DELTA,                      AND DISCOVERY
                  et al. v. UNITED STATES FISH AND WILDLIFE
          16      SERVICE, et al. (Case No. 1:09-cv-480)
          17      METROPOLITAN WATER DISTRICT v.                          Date:    October 2, 2009
                  UNITED STATES FISH AND WILDLIFE                         Time:    1:30 p.m.
          18      SERVICE, et al. (Case No. 1:09-cv-631)                  Ctrm:    3
                                                                          Judge:   Hon. Oliver W. Wanger
          19      STEWART & JASPER ORCHARDS, et al. v.
                  UNITED STATES FISH AND WILDLIFE
          20      SERVICE, et al. (Case No. 1:09-cv-892)
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               ORDER RE MOTIONS TO ALLOW EXPERT TESTIMONY AND DISCOVERY
               CASE NO. 1:09-CV-00407 OWW GSA
               sf-2748749
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           1            On October 2, 2009, the Court heard the following motions concerning expert witness

           2   testimony and discovery by the Metropolitan Water District of Southern California

           3   (“Metropolitan”), San Luis & Delta-Mendota Water Authority and Westlands Water District

           4   (“SLDMWA”), and California Department of Water Resources and Lester Snow, Director,

           5   California Department of Water Resources (“DWR”):

           6            •    Metropolitan’s Motion to Allow Expert Testimony and Discovery (Doc. # 158, 162,

           7                 167, 168);

           8            •    DWR’s Motion to Allow Extra Record Evidence to Explain Technical Terms and

           9                 Complex Subject Matter (Doc. # 156);
          10            •    SLDMWA’s Motion for Discovery and Admission of Expert Testimony (Doc. # 157,
          11                 159, 160, 163, 164).
          12            The Court has fully considered the briefs, evidence, and oral arguments submitted by the
          13   parties, and good cause appearing therefore, THE COURT HEREBY ORDERS:
          14            1.       Metropolitan’s Motion seeking admission of the testimony of Dr. Deriso is
          15   GRANTED because Metropolitan made a threshold showing of the materiality of such testimony
          16   and how it would be of assistance to the Court in understanding technical terms and complex
          17   subject matter. This ruling is without prejudice to the parties’ ability to object to the admissibility
          18   of Dr. Deriso’s testimony submitted at a later date. Metropolitan’s request for deposition of the
          19   person most knowledgeable and/or author of the Biological Opinion is DENIED, subject to
          20   further showing.

          21            2.       DWR’s Motion seeking admission of expert testimony in GRANTED in part and

          22   conditionally DENIED in part. It is GRANTED with respect to DWR’s request to present expert

          23   testimony concerning the Potential Entrainment Index (PEI) because DWR made a threshold

          24   showing of the materiality of such testimony and how it would be of assistance to the Court in

          25   understanding technical terms and complex subject matter. This ruling is without prejudice to the

          26   parties’ ability to object to the admissibility of DWR’s expert testimony submitted at a later date.

          27   It is conditionally DENIED with respect to DWR’s request to present expert testimony

          28   concerning (i) the CALSIM II Simulation Model and (ii) studies addressing correlations between
               ORDER RE MOTIONS TO ALLOW EXPERT TESTIMONY AND D ISCOVERY
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               Case 1:09-cv-02024-LJO-BAM Document 93 Filed 10/09/09 Page 3 of 3


           1   environmental factors affecting fall habitat and delta smelt abundance because DWR failed to

           2   make a threshold showing of the materiality of such testimony. DWR is provided the opportunity

           3   to make the requisite threshold materiality showing for admission of expert testimony concerning

           4   these two subjects according to the schedule set forth below.

           5            3.       SLDMWA’s Motion seeking admission of expert testimony concerning three

           6   subject areas is conditionally DENIED because it did not identify with sufficient specificity the

           7   subject areas of the proposed testimony and did not make the requisite threshold showing of its

           8   materiality and how it would be of assistance to the Court in understanding technical terms and

           9   complex subject matter. SLDMWA is provided the opportunity to make the requisite
          10   identification and threshold showing for admission of expert testimony according to the schedule
          11   set forth below. SLDMWA’s request for deposition of the person most knowledgeable and/or
          12   author of the Biological Opinion is DENIED, subject to further showing.
          13            4.       DWR, SLDMWA, and the State Wate Contractors (who joined the motions of
          14   Metropolitan and SLDMWA) may submit further requests for admission of expert testimony by
          15   October 9, 2009. The Federal Defendants and Defendant-Intervenors may oppose such further
          16   requests and designate rebuttal experts by October 16, 2009. The Court will hold a hearing on
          17   any such further requests on October 19, 2009.
          18            5.       Expert declarations as authorized by this Order shall be filed and served pursuant
          19   to a schedule as further ordered by the Court.
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               Dated: October 8, 2009                                /s/ OLIVER W. WANGER
          22                                                         OLIVER W. WANGER
                                                                     U.S. District Court Judge
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